     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 1 of 24 Page ID #:712



 1   E. MARTIN ESTRADA
     United States Attorney
 2   CAMERON L. SCHROEDER
     Assistant United States Attorney
 3   Chief, National Security Division
     KATHRYNNE N. SEIDEN (Cal. Bar No. 310902)
 4   Assistant United States Attorney
     Terrorism and Export Crimes Section
 5        1500 United States Courthouse
          312 North Spring Street
 6        Los Angeles, California 90012
          Telephone: (213) 894-0631
 7        Facsimile: (213) 894-0141
          E-mail:    Kathrynne.seiden@usdoj.gov
 8
     Attorneys for Plaintiff
 9   UNITED STATES OF AMERICA

10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. CR 8:23-00100-CJC-1

13             Plaintiff,                     GOVERNMENT’S SENTENCING POSITION
                                              FOR DEFENDANT CHANCE BRANNON
14                   v.
                                              Hearing Date: April 15, 2024
15   CHANCE BRANNON,                          Hearing Time: 9:00 a.m.
     TIBET ERGUL, and                         Location:     Courtroom of the
16   XAVIER BATTEN,                                         Hon. Cormac Carney
17             Defendants.

18

19        Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorney Kathrynne N. Seiden,
22   hereby files its Sentencing Position for Defendant Chance Brannon.
23        This Sentencing Position is based upon the attached memorandum
24   of points and authorities, the files and records in this case, the
25   Declaration of Jennifer Hirsch submitted concurrently herewith, and
26   such further evidence and argument as the Court may permit.            The
27   government respectfully reserves the right to supplement this
28
     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 2 of 24 Page ID #:713



 1   Sentencing Position with additional information as needed, including

 2   to respond to defendant’s Sentencing Position.

 3   Dated: April 1, 2024                 Respectfully submitted,

 4                                        E. MARTIN ESTRADA
                                          United States Attorney
 5
                                          CAMERON L. SCHROEDER
 6                                        Assistant United States Attorney
                                          Chief, National Security Division
 7

 8                                              /s/
                                          KATHRYNNE N. SEIDEN
 9                                        Assistant United States Attorney

10                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                              2
     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 3 of 24 Page ID #:714



 1                      MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.   INTRODUCTION

 3        In March 2022, while enrolled as an active-duty U.S. Marine,

 4   defendant Chance Brannon (“defendant”) firebombed a healthcare clinic

 5   in furtherance of his political views, deliberately hoping to scare

 6   civilians, clinic employees, and physicians.         But for law

 7   enforcement’s intervention, that incident would have been the first

 8   in a line of domestic terrorism incidents intended to “send a

 9   message” to groups defendant hated.        Defendant’s hatred knew no

10   bounds, extending to women, racial and religious minorities, and the

11   LGBTQ+ communities.     Thus, in the months leading up to his arrest in

12   this case, defendant took steps towards planning additional attacks

13   on a second healthcare clinic, Jewish residences, the Orange County

14   power grid, and Dodgers Stadium on a night celebrating LGBTQ+ pride.

15   Defendant was arrested in June 2023, just days after discussing his

16   imminent plans to commit some of those attacks.

17        In November 2023, defendant pled guilty to all counts of an

18   indictment charging him with conspiracy, malicious destruction of

19   property by fire and explosives, possession of an unregistered

20   destructive device, and intentional damage to a health services

21   facility, in violation of 18 U.S.C. §§ 844(n), 844(i), 248(a)(3), and

22   26 U.S.C. § 5861(d), all arising from the March 2022 firebombing.

23   (Dkts. 26, 55, 62.)     In March 2023, the United States Probation and

24   Pretrial Services Office (“Probation”) issued its Presentence

25   Investigation Report (“PSR”) and Recommendation Letter, in which it

26   correctly calculated defendant’s offense level as 21 and his criminal

27   history category as I.     (Dkt. 89 (PSR) ¶ 156.)       Probation further

28   determined that although defendant’s guidelines range would
     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 4 of 24 Page ID #:715



 1   ordinarily be 37 to 46 months, given the mandatory statutory minimum

 2   sentence of 60 months’ imprisonment, defendant’s guidelines term is

 3   60 months.    (Id.)   However, Probation noted that upward departures

 4   were warranted to account for charges not pursued as part of a plea

 5   agreement and to account for circumstances not adequately taken into

 6   account in determining the applicable guidelines range, for an

 7   adjusted offense level of 28 and a guidelines range of 78 to 97

 8   months’ imprisonment.     (PSR ¶¶ 171-175; Dkt. 88 (“Recommendation”) at

 9   9.)   Probation recommended that defendant be sentenced to a high-end

10   sentence of 97 months’ imprisonment, a three-year term of supervised

11   release, $1,000 in restitution, and a $400 special assessment.

12   (Recommendation at 1, 2.)      The government agrees with Probation’s

13   calculations and recommendation and requests that defendant be

14   sentenced accordingly, with the exception of the mandatory special

15   assessment.    Anything less than a high-end sentence would not

16   adequately reflect the scope of defendant’s conduct and would fall

17   critically short of protecting the public.

18   II.   STATEMENT OF FACTS

19         A.     Defendant Attacks a Planned Parenthood to Scare Women and
                  Intimidate Medical Professionals
20
           Beginning around February 2022, defendant, then an active-duty
21
     Marine, conspired with his codefendants, Tibet Ergul (“Ergul”) and
22
     Xavier Batten (“Batten”), to attack a commercial property.            (Dkt. 55
23
     (Plea Agreement) ¶ 18.)      After considering other targets, defendant
24
     chose to target a Planned Parenthood.        (Id.)   As he admitted in his
25
     Plea Agreement and at his change of plea hearing, defendant hoped not
26
     only to make a statement against abortion, but also to scare pregnant
27
     women away from obtaining abortions, deter doctors, staff, and
28

                                             2
     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 5 of 24 Page ID #:716



 1   employees of the clinic from providing abortions, intimidate the

 2   clinic’s patients, and encourage others to engage in similar acts of

 3   protest.    (Id.)

 4             On March 12, 2022, in Ergul’s garage in Orange County,

 5   defendant and Ergul put together a Molotov cocktail, consulting with

 6   Batten via text message for instructions on how to do so.            (Id.)

 7   Around 1:00 a.m. on March 13, 2022, disguised in dark clothing,

 8   hoods, masks, and gloves, defendant drove himself and Ergul to the

 9   vicinity of a Planned Parenthood in Orange County.          (Id.)    Defendant

10   and Ergul approached the entrance of the clinic, ignited the Molotov
11   cocktail, and threw it at the clinic entrance, intentionally starting
12   a fire.    (Id.)    Defendant and Ergul then fled.      (Id.)   Within
13   minutes, defendant texted Batten to tell him their plan had been
14   successful.    (Id.)   Specifically, defendant and Batten exchanged the
15   following messages:
16        DEFENDANT:         It’s done.
          BATTEN:            88.1 Did you see how long it lasted?
17        DEFENDANT:         Not really but it was fucking good
          BATTEN:            Just making sure it all went well.
18
                             Congratulations on your success brother
19        DEFENDANT:         Thank you. Please pray for our shelter from the
                             investigative eyes
20        BATTEN:            I will.

21   (PSR ¶ 30.)
22        Around 3:00 a.m., defendant and Ergul returned to the Planned
23   Parenthood to surveil their work.       (Id. ¶ 31.)     Defendant then
24   dropped Ergul off at home and returned to his parents’ home.             (Id.)
25   Defendant, Ergul, and Batten successfully damaged the clinic, which
26

27        1 “88” is a coded term for “Heil Hitler,” often used by white
     supremacists and neo-nazis, based on H being the eighth letter of the
28   alphabet. As described below, defendant and his acquaintances often
     greeted each other using “88.” (Hirsch Decl. ¶ 2.)
                                        3
     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 6 of 24 Page ID #:717



 1   was forced to close temporarily and to reschedule approximately 30

 2   patients’ appointments.      (Plea Agreement ¶ 18.)

 3          B.    Defendant Plans to Attack a Second Planned Parenthood and
                  Repeatedly Condones Rape and Violence Towards Women
 4
            In May 2022, two months after he and Ergul firebombed Planned
 5
     Parenthood, defendant texted with another friend to celebrate the
 6
     Supreme Court’s leaked opinion overturning Roe v. Wade.           (PSR ¶ 34.)
 7
     Defendant told the friend: “This is a glorious victory.           But now more
 8
     than ever we must pray and act because women who were indecisive
 9
     before may decide to get one before the Court rules / Hail Christ
10
     88.”   (Id.)   Defendant’s words were more than just empty threats; the
11
     next month, after the Supreme Court released its decision, defendant
12
     and Ergul planned to use a second Molotov cocktail, which they kept
13
     in Ergul’s garage, to damage or destroy a second Planned Parenthood
14
     clinic.     (Plea Agreement ¶ 18.)    Ultimately, defendant and Ergul
15
     abandoned their plan because they saw law enforcement near the clinic
16
     they planned to target.      (Id.)
17
            Although he did not attack a second clinic, neither defendant’s
18
     desire to address his political grievances through violence nor his
19
     animosity towards women subsided.       As just a few examples, in
20
     November 2022, in discussing an online post expressing support for
21
     women’s reproductive rights, defendant wrote to Batten: “Cultivate
22
     rape of this individual . . . This person should be raped to death by
23
     donkeys / Reddit faggo bugman talk.”        (PSR ¶ 52.)    In March 2023,
24
     defendant texted another friend: “There are so many annoying rape
25
     victim bitches that I have a hard time having sympathy for them /
26
     Because the way they act makes me think, ‘you should be raped
27
     again.’”    (Id. ¶ 53.)   Defendant later added: “The Idaho killer is
28

                                             4
     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 7 of 24 Page ID #:718



 1   already getting female fanmail which isn’t surprising at all / Women

 2   are fucking disgusting.”      (Id.)

 3        Defendant’s violent overtures regarding women continued until

 4   just before his arrest.      In May 2023, a month before his arrest,

 5   defendant told a friend: “I seriously considered raping a woman

 6   today.”   (Id. ¶ 42.)     Defendant continued: “This bitch gave me lip

 7   in the parking lot and I had a flash of just pushing her over and

 8   raping her.”    (Id.)   Defendant then asked the friend if he was going

 9   to “stalk” a female soldier stationed nearby.          (Hirsch Decl. ¶ 6 & Ex

10   D at 223.)    When the friend wrote that he was going to “rape her to

11   death,” defendant responded: “Please do.”         (Id. at 231-32.)     Days

12   later, the same friend asked defendant how he would “stop a bitch
13   from stealing all [his] shit” without a prenuptial agreement.            (PSR
14   ¶ 53.)    Defendant wrote: “By killing her.”       (Id.)
15        When interviewed, defendant’s fellow Marines confirmed that
16   defendant would frequently make sexist and misogynistic jokes in the
17   workplace.    (Id. ¶ 146.)    One Marine recalled defendant making
18   comments about killing women who had abortions, observing that
19   defendant did not laugh when making those comments.           (Id.)

20
          C.      Defendant Advises His Codefendant on How to Get Away With
21                Attacking a Clinic and Other Illegal Conduct
22        In May 2022, approximately two months after congratulating
23   defendant on having successfully firebombed a clinic, Batten
24   consulted defendant via text message about how he could “get away
25   with” destroying another reproductive health services clinic.            (Plea
26   Agreement ¶ 18.)    Defendant obliged, advising Batten to use various
27   protective measures to avoid detection, including putting his phone
28   in airplane mode, planning “quick escape routes,” avoiding being
                                             5
     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 8 of 24 Page ID #:719



 1   identified on camera, and obscuring his face and skin color.             (Id.)

 2   Defendant told Batten: “If you’re gone immediately there’s basically

 3   zero chance of capture.      The local pd will be searching for a tall

 4   man who’s not even around anymore.”         (PSR ¶ 33.)   Defendant then

 5   instructed Batten: “Delete these messages after you write them down

 6   or memorize them.”       (Id.)

 7        In September 2022, the FBI visited Batten because he was posting

 8   guides on creating destructive devices on a gaming platform.             (Id.

 9   ¶ 36.)    After the FBI interviewed Batten, defendant texted him: “HEY

10   DUMBASS STOP TALKING TO THE FEDS.”          (Id.)   Later, Batten told

11   defendant about the warnings FBI had given him about continuing to
12   disseminate the guides.      (Id.)   Defendant responded: “That’s actual
13   horseshit you cannot be indicted on conspiracy unless it was someone
14   you knew / Like me.”      (Id.)   Defendant then advised Batten that any
15   admissions would make it difficult to later disavow responsibility,
16   including by claiming that he had been hacked.          (Id.)   Defendant
17   advised Batten: “that’s reasonable doubt, and reasonable doubt is an
18   acquittal.”      (Id.)
19        D.     Defendant Plans Additional Hate Crimes in Furtherance of
                 His Extremist Ideologies
20
                 1.     Defendant Plans Attacks on the Jewish Community in
21                      Furtherance of His Neo-Nazi Ideology

22        Defendant’s vitriol was not reserved for women; rather, his
23   communications reflect that defendant also subscribed to a neo-Nazi
24   ideology.   For example, Defendant frequently greeted his friends and
25   online associates with “88,” coded language for “Heil Hitler.”             (PSR
26   ¶¶ 30, 34; Hirsch Decl. ¶ 2.)        At one point, defendant sent one
27   friend a video in which a man counts on his fingers while dubbed
28   audio states: “Massacre jews, destroy freemasons, burn protestants,
                                             6
     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 9 of 24 Page ID #:720



 1   rape their women.”     (PSR ¶ 54.)    Approximately six months before his

 2   arrest, defendant messaged the same friend that the “gay nigger

 3   feminization of America at the hands of the jews is almost complete.”

 4   (Id.)    Approximately three months before his arrest, defendant texted

 5   another friend: “You don’t have to like every single decision Hitler

 6   made to see he was a great man who loved his people and tried to save

 7   us all from the jews.”     (Hirsch Decl. ¶ 6 & Ex. D at 66.)         And

 8   approximately two months before his arrest, defendant texted another

 9   friend that “benching while listening to [National Socialist Black

10   Metal] makes me want to get like a swastika tattoo.”           (PSR ¶ 54.)

11           Photographs recovered from defendant’s and his associates’

12   devices provide additional insight into defendant’s antisemitic

13   views.    For example, a photograph on Ergul’s phone shows defendant

14   smiling with a Nazi swastika armband superimposed on his arm.              (PSR

15   ¶ 25 n. 2.)    Another photograph recovered from Ergul’s phone shows

16   defendant, Ergul, and another associate standing in the “Heil Hitler”

17   stance while a second associate kneels with a large rifle.            (PSR ¶ 25

18   n. 2; Hirsch Decl. ¶ 3 & Ex. A.)

19

20

21

22

23

24

25

26

27

28

                                             7
     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 10 of 24 Page ID #:721



 1         Materials found in defendant’s home further reflect defendant’s

 2   neo-nazi ideology.     Specifically, in his bedroom, defendant kept

 3   books espousing Jewish conspiracy theories and letters from his

 4   codefendant containing violent and antisemitic writings and drawings,

 5   including, for example, a drawing depicting a “Boy Marine” shooting

 6   an antisemitic portrayal of a Jewish person with the caption: “THANK

 7   YOU FOR KEEPING AMERICA PURE.”       (Hirsch Decl. ¶ 4 & Ex. B.)

 8

 9

10

11

12

13

14

15

16

17

18
           Defendant did not save his antisemitic views for his private
19
     consumption or closest confidantes.         Rather, defendant’s fellow
20
     Marines noted that he would say things like: “All jews deserve to
21
     die;” “Jews control show business;” “Hitler didn’t finish the job;”
22
     and Jews “manipulate the black community.”         (PSR ¶ 146.)
23
           Critically, defendant’s antisemitism directly motivated his
24
     criminal proclivities.      For example, before attacking the Planned
25

26

27

28

                                             8
     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 11 of 24 Page ID #:722



 1   Parenthood, defendant considered attacking the San Diego office of

 2   the Anti-Defamation League.2       (Plea Agreement ¶ 18.)

 3           As another more recent example, just days before his arrest in

 4   this case, defendant texted with a friend about robbing a bank to

 5   “steal[] from the jews.”      (PSR ¶ 44.)     Defendant opined that “a

 6   better way to rob jews would be [] home invasions in the hollywood

 7   hills,” where “every other house would be a child sex dungeon.”

 8   (Id.)       But what began as a seemingly theoretical discussion evolved

 9   into actual planning, as defendant named specific potential targets

10   and discussed wanting to “post up outside the target house and

11   surveil for like 2 weeks then plan it out, rehearse, and hit.”             (Id.)

12   Defendant then confirmed that he had friends, including Ergul, who
13   would “be down,” and offered that he could “find at least one other
14   person . . . to wait outside with a radio on lookout.”            (Id.)
15   Defendant then instructed his friend to “research potential targets”
16   and to “take leave to California” so they could carry out the attack.
17   (Id.)       Fortunately, defendant was arrested three days later.         (Id.)
18
                    2.   Defendant Plans an Attack on the Power Grid to Start a
19                       Race War

20           Defendant’s violent extremism was also fueled by intense racism,

21   which he expressed freely to his codefendants.          For example, in a

22   conversation with Batten in February 2022, defendant questioned

23   whether it would be okay in the eyes of the Church to “kill niggas

24   who are malicious.”      (PSR ¶ 51.)    January 2023, defendant texted

25   Batten: “How far are you from hollywood florida . . . I need you to

26
            The Anti-Defamation League is a non-governmental organization
             2
27   and advocacy group founded with the mission to “stop the defamation
     of the Jewish people, and to secure justice and fair treatment to
28   all.” (See adl.org/about/mission-and-history (last accessed April 1,
     2024).)
                                        9
     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 12 of 24 Page ID #:723



 1   drive there and lynch a nigger and his two children named [W.M.].”

 2   (Hirsch Decl. ¶ 5 & Ex. C at 133-34.)         Two months later, defendant

 3   asked Batten if it was “a sin to steal what has already been stolen /

 4   i.e. to steal from criminals” and then stated: “Steal from niggers

 5   and then kill them.”      (Id. at 147-48.)

 6           Defendant espoused his racist views to other acquaintances, as

 7   well.    For example, in March 2023, defendant wrote to another friend:

 8   “Just watched the body of lies scene where they throw the nigger out

 9   of the airplane and laughed my ass off.”         (Hirsch Decl. ¶ 6 & Ex. D

10   at 1-2.)    In another conversation with that same person, defendant

11   wrote: “The western US was always mostly Mexican ethnically which is

12   why it needs to be cleansed of them.”         (Id. at 142.)    When the friend

13   told defendant he saw “0 niggers and Mexicans” at his church,
14   defendant wrote: “God is in control.         1488.”   (Id. at 150.)
15           Defendant’s racism extended beyond his text messages with
16   friends.    Defendant’s fellow Marines noted that he made hateful
17   comments towards all non-white individuals, including Jewish,
18   Hispanic, African American, and Muslim acquaintances, including, for
19   example, openly using a racial slur to refer to one fellow Marine’s

20   spouse.    (PSR ¶ 46.)    And just a few months before his arrest, in the

21   Notes application of his phone, defendant wrote himself a note that

22   read:

23           Kill niggers. Behead niggers. Roundhouse kick a nigger into
             the concrete. Slam dunk a nigger baby into the trashcan.
24           Crucify filthy blacks. Defecate in a niggers food. Launch
             niggers into the sun. Stir fry niggers in a wok. Toss niggers
25
             into active volcanoes. Urinate into a niggers gas tank. Judo
26           throw niggers into a wood chipper. Twist niggers heads off.
             Report niggers to the IRS. Karate chop niggers in half. Curb
27           stomp pregnant black niggers. Trap niggers in quicksand. Crush
             niggers in the trash compactor. Liquefy niggers in a vat of
28           acid. Eat niggers. Dissect niggers. Exterminate niggers in the
                                             10
     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 13 of 24 Page ID #:724



 1        gas chamber. Stomp nigger skulls with steel toed boots.
          Cremate niggers in the oven. Lobotomize niggers. Mandatory
 2        abortions for niggers. Grind nigger fetuses in the garbage
          disposal. Drown niggers in fried chicken grease. Vaporize
 3
          niggers with a ray gun. Kick old niggers down the stairs. Fed
 4        niggers to alligators. Slice niggers with a katana.
     (PSR ¶55.)
 5
           Defendant sought to channel his white supremacist ideology into
 6
     criminal conduct.     Beginning sometime in 2022 and continuing through
 7
     approximately the time of their arrest, defendant and Ergul discussed
 8
     starting a race war by attacking an electrical substation with the
 9
     goal of damaging the substation and disrupting the functioning of the
10
     power grid in Orange County.       (Plea Agreement ¶ 18.)      As he later
11
     explained to a friend during a conversation about how to effectively
12
     commit “domestic terrorism,” defendant noted: “we need to create food
13
     insecurity.”    (PSR ¶ 38.)     On a thumb drive disguised as a military-
14
     style dog tag necklace bearing “Semper Fidelis,” the motto for the
15
     U.S. Marines, defendant kept a .txt file titled: “Delete after
16
     reading.”    (Plea Agreement ¶ 18.)      The file contained an operation
17
     plan and gear list for targeting a Southern California Edison
18
     substation.    Defendant possessed several of the items on the gear
19
     list, including but not limited to a Zastava ZPap M70 rifle with a
20
     handwritten Cyrillic message on the folding stock which roughly
21
     translates to “Total Nigger Death.”          (Id.)   The thumb drive also
22
     contained recordings of the 2019 Christchurch Mosque shooting, a mass
23
     shooting in which a white supremacist, using firearms bearing white
24
     supremacist writings similar to that on defendant’s firearm, murdered
25
     51 people and injured 40 others.        (Id.)
26

27

28

                                             11
     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 14 of 24 Page ID #:725



 1                3.     Defendant Plans an Attack on Dodger Stadium on a Night
                         Celebrating LGBTQ+ Pride
 2

 3         Defendant’s communications with others reflect a pattern of

 4   using homophobic slurs.      As just one example, in messages with a

 5   friend, defendant wrote: “The jews have to fag up everything

 6   including the last white sport / It’s not enough to tolerate faggotry

 7   you must endorse it.”      (Hirsch Decl. ¶ 6 & Ex. D at 95.)        As another,

 8   defendant texted another friend months before his arrest, complaining

 9   that the “gay nigger feminization of America at the hands of the jews

10   is almost complete.”      (PSR ¶ 54.)    In furtherance of his intolerance,

11   in early summer 2023, defendant and Ergul discussed and researched

12   how to attack the parking lot or electrical room of Dodger Stadium on

13   a night celebrating LGBTQ+ pride, including by using a remote-

14   detonated device.      (Plea Agreement ¶ 18.)     As part of their

15   conversations about the attack, defendant shared with Ergul a ”WW2

16   sabotage manual” and discussed doing “dry runs” to “case” the

17   stadium.    (Id.)    Defendant also conducted research on Unabomber Ted

18   Kaczynski, an infamous domestic terrorist who killed multiple

19   Americans and injured many more during his campaign of terror.             (Id.)

20   As defendant explained to Ergul in discussing their plans, defendant

21   wanted to “send a message” and noted “God will not be mocked.”             (PSR

22   ¶ 46.)     Defendant reassured Ergul: “Our desire to fight is a gift as

23   long as we use it right.      God makes men warlike for a reason.”         (Id.)

24         Defendant and Ergul were arrested two days before Pride Night.

25   (Id. ¶ 47.)

26         E.     Defendant’s Violent Proclivities Escalate Just Before His
                  Arrest
27
           Concerningly, leading up to defendant’s arrest, his apparent
28
     inclination towards violence seems to have escalated.           That
                                       12
     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 15 of 24 Page ID #:726



 1   escalation is reflected not only in defendant’s plans to rob a Jewish

 2   neighborhood and attack Dodger stadium, both expressed within days of

 3   his arrest, but also in his communications with friends in the

 4   preceding months.     For example, in March 2023, defendant texted a

 5   friend that he had a “long night” and was feeling “like murdering

 6   some niggas in particular.”       (PSR ¶ 41.)    Days later, defendant told

 7   the same friend: “women want you to cut their heads off /

 8   expeditiously.”     (Id.)   A week after that, in discussing U.S.

 9   Congresswoman Gabrielle Giffords, defendant opined that “Politicians

10   should be killed with knives so they can’t use it as an excuse for

11   gun control.”    (Id.)

12           At the end of March, defendant told the same friend he had
13   “though about infiltrating the local [Socialist Rifle Association]
14   and assembling target dossiers on the members,” but got “lazy.” (Id.)
15   He then wrote: “I need to get back into domestic terrorism.”             (Id.)
16   Days later, in texting about a grievance related to his job,
17   defendant wrote: “I think I’m going to kill a congressman over this.”
18   (Id.)    Defendant later reiterated: “Dude if something seriously bad
19   happens to me because of this i’m just gonna start assassinating

20   niggas.”    (Id.)

21           In May 2023, defendant texted his friend a meme that read “I

22   HATE NIGGERS” and wrote: “Why are the writers on strike also I just

23   realized they’re in LA I can go kill them with my car.”            (Id. ¶ 42.)

24   Ten days before his arrest, defendant texted the same friend: “it

25   takes incredible restraint for me not to take my suppressed rifle and

26   go kill specific people in LA.”        (Id.)

27           On June 1, 2023, less than two weeks before his arrest,

28   defendant texted: “Can we just be done with elections and have the

                                             13
     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 16 of 24 Page ID #:727



 1   race war already.”     (Id.)    Days before his arrest, he lamented: “I

 2   really don’t know if a race war is coming, man.          People will never do

 3   anything if everyone keeps waiting for it to start on its own.”

 4   (Id.)

 5           F.   Defendant is Arrested Possessing Multiple Illegal Firearms

 6           When defendant was arrested in June 2023, law enforcement

 7   located numerous illegal firearms in his house, including multiple

 8   firearm silencers and an unmarked short-barreled rifle without a

 9   serial number, none of which defendant had registered.            (Plea

10   Agreement ¶ 18.)     Defendant also possessed various California-

11   noncompliant firearms, including a handgun with a threaded barrel, a

12   handgun with an un-serialized lower receiver and a threaded barrel,

13   and the semi-automatic rifle mentioned above.          (PSR ¶ 48.)

14   III. UPWARD DEPARTURES ARE WARRANTED TO REFLECT ADDITIONAL FACTS NOT
          FACTORED INTO DEFENDANT’S GUIDELINES RANGE
15
             As set forth in the Plea Agreement, the parties agree that
16
     defendant’s base offense level is 24 under U.S.S.G. § 2K1.4.              (Plea
17
     Agreement ¶ 20.)     The government further agrees that pursuant to
18
     U.S.S.G. § 3E1.1, defendant is entitled to a three-level reduction
19
     for acceptance of responsibility.        (PSR ¶¶ 80-81.)     However, the
20
     government respectfully asks the Court to apply two upward departures
21
     to reflect facts not taken into account in determining defendant’s
22
     guidelines range.
23
             A.   A Five-Level Upward Departure is Warranted Under U.S.S.G.
24                § 5K2.0(a)(2)(A) to Account For Defendant’s Attempt to
                  Intimidate and Scare Civilians
25
             Under U.S.S.G. § 5K2.0(a)(2)(A), a court may depart from the
26
     otherwise applicable guideline range if there are circumstances that
27
     were not adequately taken into consideration in determining that
28

                                             14
     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 17 of 24 Page ID #:728



 1   range.   Here, the applicable Guideline, U.S.S.G. § 2K1.4, accounts

 2   for defendant’s conduct in throwing a Molotov cocktail at a place of

 3   public use.    But the Guideline does not take into account the

 4   pernicious motive for defendant’s conduct, which was to commit, as he

 5   described it, “domestic terrorism” and intimidate civilians by making

 6   a violent political statement.       Rather, defendant’s guidelines range

 7   would be the same if he were merely acting on a juvenile whim.

 8         Notably, were the court to apply the terrorism enhancement under

 9   U.S.S.G. § 3A1.4, defendant’s offense level would rise to level 32

10   and his criminal history would increase to category VI, for a

11   guidelines range of 210 to 262 months’ imprisonment.           That

12   enhancement applies where a defendant commits a felony that involves

13   or is intended to promote a “federal crime of terrorism,” which

14   includes arson that is “calculated to influence or affect the conduct

15   of the government by intimidation or coercion, or to retaliate

16   against government conduct.”       See U.S.S.G. § 3A1.4; 18 U.S.C.

17   § 2332b(g)(5).     Obviously, defendant firebombed a Planned Parenthood
18   just three months before the Supreme Court was set to issue a
19   landmark ruling about abortion; thus, one could certainly question

20   whether defendant’s conduct was calculated to influence or affect

21   government conduct, as would warrant application of the terrorism

22   enhancement.    Nonetheless, the government is not seeking the

23   terrorism enhancement, instead taking defendant at his word that his

24   motive was to intimidate civilians.

25         However, Comment 4 to U.S.S.G. § 3A1.4 provides that “an upward

26   departure [is] warranted” in a situation where “the offense involved,

27   or was intended to promote, one of the offenses specifically

28   enumerated in 18 U.S.C. § 2332b(g)(5)(B),” including arson under 18

                                             15
     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 18 of 24 Page ID #:729



 1   U.S.C. § 844(i), “but the terrorist motive was to intimidate or

 2   coerce a civilian population.”       That is precisely what transpired

 3   here.    As defendant admitted in his plea agreement and at his change

 4   of plea, he targeted Planned Parenthood because he wanted to “make a

 5   statement against abortion, scare pregnant women away from obtaining

 6   abortions, deter doctors, staff, and employees of the clinic from

 7   providing abortions, intimidate and interfere with patients of the

 8   clinic, and encourage others to engage in similar acts.”            (Plea

 9   Agreement ¶ 18.)

10           Because defendant’s offense conduct is not adequately captured

11   by the applicable guideline and a distinct provision of the

12   guidelines specifically contemplate that the circumstances present

13   here warrant an upward departure, the government respectfully submits

14   that a conservative, five-level upward departure is warranted.              See

15   United States v. Tankersley, 537 F.3d 1100, 1116-17 (9th Cir. 2008)
16   (affirming application of 12-level upward departure under § 3A1.4,
17   cmt. 4 and § 5K2.0 where a defendant who committed arson and
18   conspired to damage an energy facility intended to influence the
19   conduct of a private entity, rather than the government, and thus

20   fell short of qualifying for the full terrorism enhancement under

21   § 3A1.4).

22           B.   A Two-Level Upward Departure is Warranted Under U.S.S.G.
                  § 5K2.21 to Account For Uncharged Conduct
23
             While an upward departure is warranted under U.S.S.G.
24
     § 5K2.0(a)(2)(A) to account for defendant’s insidious motive, an
25
     additional upward departure is warranted under U.S.S.G. § 5K2.21 to
26
     account for uncharged conduct.       Specifically, U.S.S.G. § 5K2.21
27
     contemplates that an upward departure is warranted to reflect the
28

                                             16
     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 19 of 24 Page ID #:730



 1   actual seriousness of an offense based on conduct underlying a

 2   potential charge not pursued in the case as part of a plea agreement.

 3   Here, as part of the plea agreement, the government agreed not to

 4   pursue additional charges, most notably for the silencer, short-

 5   barreled rifle, and second Molotov cocktail defendant possessed, all

 6   in violation of 26 U.S.C. § 5861.        (Plea Agreement ¶ 3.)      The

 7   government therefore submits that a two-level upward departure is

 8   warranted to reflect the collection of illegal firearms which are

 9   otherwise unrepresented in defendant’s guidelines calculations.

10         Factoring in a five-level upward departure under U.S.S.G.

11   § 5K2.0 and a two-level upward departure under U.S.S.G. § 5K2.21,

12   defendant’s new offense level would be 28, for a guidelines range of

13   78 to 97 months’ imprisonment.

14   IV.   A 97-MONTH SENTENCE IS NO GREATER THAN NECESSARY TO ACCOUNT FOR
           THE RELEVANT FACTORS UNDER 18 U.S.C. § 3553(A)
15
           A.    The Nature and Circumstances of the Offense
16
            The nature and circumstances of the offense warrant a 97-month
17
     sentence.    Even in a vacuum, defendant’s crime -- building a homemade
18
     incendiary device and throwing it at the entrance of a building --
19
     would have been egregious.       But defendant did far more than throw an
20
     incendiary device at a building; he targeted a healthcare clinic
21
     providing medical appointments, procedures, and counseling services,
22
     including to vulnerable patients.        Even more disturbing, defendant
23
     was far from apathetic to the impact his conduct might have on his
24
     victims.    To the contrary, defendant intentionally sought to
25
     terrorize them through his conduct, deliberately interfering with and
26
     intimidating healthcare professionals and their staff and
27
     intentionally scaring women seeking medical treatment and counseling.
28

                                             17
     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 20 of 24 Page ID #:731



 1         Defendant’s conduct was also far from a one-off act of

 2   recklessness; rather, defendant admitted that he not only wanted to

 3   encourage others to engage in similar conduct, but also sought to

 4   repeat his conduct by attacking a second Planned Parenthood shortly

 5   after the Supreme Court issued its decision overturning Roe v. Wade.

 6   (Plea Agreement ¶ 18.)      In defendant’s own parlance, he wanted to

 7   “act” to prevent women “who were indecisive” from rushing to obtain

 8   abortions.    (PSR ¶ 34.)    Put differently, rather than allow the

 9   judicial and legislative systems to unfold, defendant took matters

10   into his own hands, weaponizing fear and intimidation to achieve his

11   political ends.

12         Perhaps most egregiously, at the time of his crimes, defendant

13   was an active-duty Marine who had taken an oath to protect the

14   national security of the United States.         Defendant not only shirked

15   that duty, but actively counteracted it by deliberately subjecting

16   civilians to violent acts of terror.         In short, defendant had

17   available to him various legal avenues to effectuate his political

18   views, including freely exercising his First Amendment rights and

19   engaging in the political process.        Instead, defendant chose domestic

20   terrorism, masquerading his violent extremism as religious

21   commitment.    The government respectfully submits that a high-end

22   sentence is warranted.

23         B.     Defendant’s History and Characteristics

24         Defendant’s history and characteristics also warrant a high-end
25   sentence.    Defendant espoused an indescribable level of vitriol for
26   various minority groups, seemingly sparing no one.           Defendant’s
27   cavalier use of racial and homophobic slurs, casual expressions of
28   misogyny, and persistent expressions of violent intent went far
                                             18
     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 21 of 24 Page ID #:732



 1   beyond empty words; rather, defendant intended -- and in many

 2   instances planned -- to take overt action that would at the very

 3   least scare and intimidate women, racial minorities, and the Jewish

 4   and LGBTQ+ communities, and would at worst harm or even kill real

 5   victims.

 6         Moreover, defendant’s guidelines calculations do not account for

 7   any of defendant’s plans outside of the March 2022 firebombing,

 8   including his plans to firebomb a second Planned Parenthood, attack

 9   Dodger Stadium, rob Jewish homes, or instigate a race war by

10   attacking the power grid.       By applying the requested upward

11   departures, the Court can account for defendant’s possession of

12   illegal firearms and his insidious motive for attacking Planned

13   Parenthood.    But defendant’s sentence should also reflect his recent

14   history of plotting repeatedly against the United States and its

15   citizens, particularly while enlisted as a U.S. Marine.            Only a high-

16   end, 97-month sentence is sufficient to account for defendant’s

17   characteristics and the entirety of his recent history.

18         Moreover, while a defendant’s military service may be mitigating

19   in some instances, here it is not.        The evidence reflects that

20   defendant actively sabotaged the institution he was charged with

21   serving, both by infecting the atmosphere with intolerance and

22   hostility and by actively interfering with its missions.

23   Specifically, defendant’s colleagues and supervisors described him as

24   “lazy,” “aloof,” and “disinterested in working the mission,”

25   routinely turning in work that was “sloppy or incomplete.”            (PSR

26   ¶ 145.)    Ten days before defendant’s arrest, he confessed to a

27   friend: “During the last year of my contract I was on the verge of

28   like actively sabotaging operations as much as possible.”            (Id.

                                             19
     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 22 of 24 Page ID #:733



 1   ¶ 45.)     Defendants’ colleagues consistently described him as someone

 2   who exhibited a lack of respect and made misogynistic, antisemitic,

 3   and hateful comments towards all non-white individuals, including

 4   using racial slurs to refer to one colleague’s spouse and friends and

 5   insisting that “all Jews deserve to die,” as do many women.            (Id.

 6   ¶ 46.)     And, of extreme concern, in 2022 defendant placed calls to

 7   not one, but two foreign adversaries, hoping to offer himself up as a

 8   “mole” by providing U.S. intelligence.         (Id. ¶ 37.)

 9         In sum, defendant is an intelligent person who grew up with more

10   resources and comforts than most.        To use Probation’s words,

11   defendant has “superior intelligence” and was afforded “a privileged

12   upbringing,” setting him apart from many defendants who appear before

13   this Court.    (Recommendation at 10.)       But rather than put his

14   opportunities and skills to good use, defendant focused his energy on

15   nefarious, violent methods of perpetuating his white supremacist

16   ideology, excusing his own behavior by insisting that “God makes men

17   warlike for a reason.”      (PSR ¶ 46.)      A high-end sentence is warranted

18   to account for his history and characteristics.

19         C.     The Need to Protect the Public and Promote Respect for the
                  Law
20
           Critically, a 97-month sentence is necessary to protect the
21
     public from defendant’s apparent insistence on perpetrating violent
22
     acts in furtherance of his deeply held beliefs.          Though difficult to
23
     capture the pervasiveness of those beliefs within the confines of
24
     this sentencing position, defendant’s digital communications, conduct
25
     at work, and, most importantly, repeated willingness to act on those
26
     beliefs reflects that they are extreme and persistent.            Moreover, as
27
     detailed above, in the months leading up to defendant’s arrest, his
28

                                             20
     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 23 of 24 Page ID #:734



 1   violent proclivities seemingly escalated, as defendant expressed a

 2   desire to kill or rape seemingly anyone in his path and studied other

 3   notorious figures who committed acts of extreme violence.            The

 4   government sincerely hopes that defendant will be rehabilitated in

 5   custody, but that risk should not be borne by the public.            A high-end

 6   sentence is necessary to protect the public from defendant acting in

 7   furtherance of his violent aims.

 8         Moreover, a high-end sentence is warranted to promote respect

 9   for the law, which defendant appears to lack entirely.            Though well

10   versed in criminal law and operation security, (see e.g. PSR ¶¶ 36,

11   39, 44), defendant has used those skills to evade law enforcement and
12   to counsel others in doing so.       (Id. ¶¶ 33, 36.)      That defendant
13   willingly engaged in multiple plots or acts of domestic terrorism
14   while enlisted as a U.S. Marine further suggests that defendant lacks
15   any respect whatsoever for this nation, its laws, or its security.              A
16   high-end sentence is warranted.
17   //
18   //
19   //

20   //

21   //

22   //

23   //

24   //

25   //

26   //

27   //

28

                                             21
     Case 8:23-cr-00100-CJC Document 97 Filed 04/02/24 Page 24 of 24 Page ID #:735



 1   V.    CONCLUSION

 2         For the foregoing reasons, the government respectfully requests

 3   that this Court sentence defendant to 97 months’ imprisonment, a

 4   three-year term of supervised release, $1,000 in restitution, and a

 5   $3253 special assessment.

 6

 7    Dated: April 1, 2024                 Respectfully submitted,

 8                                         E. MARTIN ESTRADA
                                           United States Attorney
 9
                                           CAMERON L. SCHROEDER
10                                         Assistant United States Attorney
                                           Chief, National Security Division
11

12                                               /s/
                                           KATHRYNNE N. SEIDEN
13                                         Assistant United States Attorney
14                                         Attorneys for Plaintiff
                                           UNITED STATES OF AMERICA
15

16

17

18

19

20

21

22

23

24

25

26

27         3Although Probation recommended a $400 special assessment, (PSR
     ¶ 165), one of the counts to which defendant pled guilty is a Class A
28   misdemeanor, and thus warrants a $25 special assessment. See 18
     U.S.C. § 3013(a)(1)(A)(iii).
                                       22
